Case 1:21-cv-04821-AMD-RML Document 45 Filed 04/03/23 Page 1 of 4 PageID #: 260




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------------------- x

 JUSTIN COHEN and KYALA SCHENCK,
                                                                                 STIPULATION OF
                                                                Plaintiffs,      SETTLEMENT

                                 -against-                                       21-CV-4821 (AMD) (RML)

 THE CITY OF NEW YORK; NYPD OFFICER THOMAS
 DEMERY; NYPD OFFICER MIGUEL MARQUEZ; NYPD
 OFFICER ADNAN HUSSAIN; NYPD OFFICER MICHAEL
 HABER; NYPD DEPUTY INSPECTOR “FNU” LEWIS and
 NYPD MEMBERS JOHN AND JANE DOES 1–14,

                                                              Defendants.
 --------------------------------------------------------------------------- x


                   WHEREAS, plaintiffs commenced this action by filing a complaint on or about

 August 26, 2021, an amended complaint on January 31, 2022, and a second amended complaint

 on May 31, 2022, alleging that the defendants violated plaintiffs’ federal civil and state common

 law rights; and

                   WHEREAS, defendants 1 City of New York, Officer Thomas Demery, Officer

 Miguel Marquez, Officer Adnan Hussain, and Officer Michael Haber have denied any and all

 liability arising out of plaintiffs’ allegations; and

                   WHEREAS, pursuant to a Stipulation and Order of Voluntary Dismissal pursuant

 to Fed. R. Civ. P. 41(a)(1)(A)(ii), agreed to by the parties and endorsed by the Court on July 15,

 2022 (Docket Entry No. 37), Mayor Bill De Blasio, NYPD Commissioner Dermot Shea, and

 NYPD Chief of Department Terence Monahan were dismissed and discontinued from this action

 without prejudice, and without costs or attorney’s fees to any party; and

 1
   The second amended complaint, dated May 31, 2022, names Deputy Inspector “FNU” Lewis as
 a defendant. (Docket Entry (“DE”) No. 35). However, as FNU Lewis was not served with the
 summons and complaint, he is not a party to this case.
Case 1:21-cv-04821-AMD-RML Document 45 Filed 04/03/23 Page 2 of 4 PageID #: 261




                WHEREAS, the parties now desire to resolve the issues raised in this litigation,

 without further proceedings and without admitting any fault or liability; and

                WHEREAS, plaintiffs have authorized their counsel to settle this matter on the

 terms set forth below;

                NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and

 between the undersigned, as follows:

          1.    The above-referenced action is hereby dismissed against defendants, with

 prejudice, and without costs, expenses, or attorneys’ fees except as specified in paragraph “2”

 below.

          2.    Defendant City of New York hereby agrees to pay plaintiff Justin Cohen the sum

 of Thirty-Seven Thousand Five Hundred ($37,500.00) Dollars and plaintiff Kyala Schenck the

 sum of Eighty Thousand ($80,000.00) Dollars in full satisfaction of all claims, including claims

 for costs, expenses and attorneys’ fees. In consideration for the payment of these sums, plaintiffs

 agree to dismissal of all the claims against the defendants and to release Mayor Bill De Blasio,

 NYPD Commissioner Dermot Shea, NYPD Chief of Department Terence Monahan, and

 defendants City of New York, Officer Demery, Officer Marquez, Officer Hussain and Officer

 Haber; their successors or assigns; and all past and present officials, employees, representatives,

 and agents of the City of New York or any entity represented by the Office of the Corporation

 Counsel, from any and all liability, claims, or rights of action alleging a violation of plaintiffs’

 civil rights and any and all related state law claims, from the beginning of the world to the date of

 the General Releases, including claims for costs, expenses, and attorneys’ fees.




                                                 -2-
Case 1:21-cv-04821-AMD-RML Document 45 Filed 04/03/23 Page 3 of 4 PageID #: 262




         3.      Plaintiffs each shall execute and serve on the City of New York’s attorney by legal

 tender (either by personal service or certified mail) at 100 Church Street, New York, New York

 10007 all documents necessary to effect this settlement, including, without limitation, a General

 Release, based on the terms of paragraph “2” above, IRS Form W-9, and an Affidavit of Status of

 Liens. Prior to tendering the requisite documents to effect this settlement, Medicare-recipient

 plaintiffs must obtain and submit a final demand letter from their Medicare provider(s) for the

 reimbursement of any conditional payments made for the injuries claimed in this matter. A

 Medicare Set-Aside Trust may also be required if future anticipated medical costs are found to be

 necessary pursuant to 42 U.S.C. § 1395y(b) and 42 C.F.R. §§ 411.22 through 411.26.

         4.      Nothing contained herein shall be deemed to be an admission by the defendants

 that they have in any manner or way violated plaintiffs’ rights, or the rights of any other person or

 entity, as defined in the constitutions, statutes, ordinances, rules or regulations of the United States,

 the State of New York, or the City of New York or any other rules or regulations of any department

 or subdivision of the City of New York. This stipulation shall not be admissible in, nor is it related

 to, any other litigation or settlement negotiations, except to enforce the terms of this agreement.

         5.      Nothing contained herein shall be deemed to constitute a policy or practice of the

 City of New York or any agency thereof.

         6.      Plaintiffs agree to hold harmless defendants regarding any past and/or future

 Medicare claims, presently known or unknown, in connection with this matter. If Medicare claims

 are not satisfied, defendants reserve the right to issue a multiparty settlement check naming the

 Medicare provider as a payee or to issue a check directly to the Medicare provider for the amount

 claimed in the Medicare provider’s final demand letter.




                                                   -3-
Case 1:21-cv-04821-AMD-RML Document 45 Filed 04/03/23 Page 4 of 4 PageID #: 263




        7.      This Stipulation of Settlement contains all the terms and conditions agreed upon by

 the parties hereto, and no oral agreement entered into at any time nor any written agreement entered

 into prior to the execution of this Stipulation of Settlement regarding the subject matter of the

 instant proceeding shall be deemed to exist, or to bind the parties hereto, or to vary the terms and

 conditions contained herein.



  Dated: New York, New York
         ______________,
            March 22     2023


       COHEN & GREEN P.L.L.C.                           HON. SYLVIA O. HINDS-RADIX
       Attorneys for Plaintiffs                         Corporation Counsel of the
           Cohen and Schenck                               City of New York
       1639 Centre Street, Suite 216                    Attorney for Defendants City of New York,
       Ridgewood, New York 11385                           Demery, Marquez, Hussain, and Haber
       (929) 888-9480                                   100 Church Street, 3rd Floor
                                                        New York, New York 10007



                                                  By:
 By:   ______________________________                    ________________________________
       J. Remy Green, Esq.                               Jeffrey F. Frank, Esq.
       Attorney for Plaintiffs                           Assistant Corporation Counsel




                                                -4-
